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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 DIGITAL CACHE, LLC,

                 Plaintiff,
                                                          Civil Action No. 6:21-cv-163
          v.
                                                          JURY TRIAL DEMANDED
 KINGSTON TECHNOLOGY
 (SHANGHAI) CO., LTD.,

                 Defendant.


                  KINGSTON TECHNOLOGY (SHANGHAI) CO., LTD.’S
                   RULE 7.1 CORPORATE DISCLOSURE STATEMENT

         Pursuant to the Federal Rule of Civil Procedure 7.1, Defendant, Kingston Technology

(Shanghai) Co., Ltd., hereby states that its parent corporation is Kingston Technology Electronics

(Shanghai) Co., Ltd., and that there is no publicly held corporation that owns more than 10% of its

stock.




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Dated: May 25, 2021                            Respectfully submitted,

                                               FISH & RICHARDSON P.C.

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                                               COUNSEL FOR DEFENDANT,
                                               KINGSTON TECHNOLOGY (SHANGHAI) CO., LTD.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) on May 25, 2021, and was served via CM/ECF on all counsel

who are deemed to have consented to electronic service. Local Rule CV-5(b)(1).


                                                    /s/ David M. Hoffman
                                                    David M. Hoffman




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